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     THOMAS A. JOHNSON, #119203
 1
     400 Capitol Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3   Attorney for Defendant Steven Soria
 4
 5                                IN THE UNITED STATES DISTRICT COURT
 6                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                                      )   Case No.: 2:08-cr-00169-EJG
 8   UNITED STATES OF AMERICA,                        )
                                                      )   STIPULATION AND ORDER TO
 9                   Plaintiff,                       )   CONTINUE STATUS CONFERENCE
                                                      )
10          v.                                        )   Date:    January 8, 2010
                                                      )   Time:    10:00 a.m.
11                                                    )   Judge:   Hon. Edward J. Garcia
     STEVEN SORIA, et al.                             )
12                                                    )
                     Defendant
13
14
            IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the Status
15
     Conference scheduled for January 8, 2010 at 10:00 a.m. is to be continued to February 12, 2010
16
     at 10:00 a.m.in the same courtroom. Jason Hitt, Assistant United States Attorney, Thomas A.
17
     Johnson, attorney for Steven Soria, and Hayes Gable, attorney for Michael Thompson, are
18
     requesting such continuance in order to complete negotiations.
19
            It is further stipulated that the period from the date of this stipulation through and
20
     including February 12, 2010, be excluded in computing the time within which trial must
21
     commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local
22
     Code T2 and T4 for continuity and preparation of counsel.
23
24
            IT IS SO STIPULATED.
25
26   DATE: January 7, 2010                                         /s/ Thomas A. Johnson_____
                                                                   THOMAS A. JOHNSON
27                                                                 Attorney for Defendant
                                                                   STEVEN SORIA
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 1   DATE: January 7, 2010                                /s/ Hayes Gable_____
                                                          HAYES GABLE
 2                                                        Attorney for Defendant
                                                          MICHAEL THOMPSON
 3
 4   DATE: January 7, 2010                                BENJAMIN B. WAGNER
                                                          United States Attorney
 5
                                               By:         /s/ Jason Hitt___________
 6                                                        JASON HITT
                                                          Assistant U.S. Attorney
 7
 8         IT IS SO ORDERED.
 9
10
     Dated: 1/7/2010
11
12
13                                      /s/ Edward J. Garcia
                                        HON. EDWARD J. GARCIA
14                                      U.S. District Court Judge
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